                Case 1:17-cv-00668-MAD-DJS Document 6 Filed 06/29/17 Page 1 of 2
                AO 440 (Rev. 06/12) Summons in a Civil Action



                                   UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Northern District
                                                 __________ Districtof
                                                                     ofNew York
                                                                       __________

                       Shawn Perry                                 )
                                                                   )
                                                                   )
                                                                   )
                         Plaintiff(s)                              )
                                                                   )
                             v.                                            Civil Action No. 1:17-CV-0668 (MAD/DJS)
                                                                   )
  First Contact, LLC, iEnergizer, Inc., Convergent                 )
 Outsourcing, Inc., and Expert Global Solutions, Inc.              )
                                                                   )
                                                                   )
                        Defendant(s)                               )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) iEnergizer, Inc.
                                        Lexis Nexus Document Solutions, Inc.
                                        800 State Street
                                        Albany, NY 12202




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Shireen Hormozdi
                                        Hormozdi Law Firm, LLC
                                        1770 Indian Trail Lilburn Road, Suite 175
                                        Norcross, GA 30093
                                        Tel: 678-395-7795
                                        Fax: 866-929-2434

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:       06/20/2017                                                                 s/ Helen M. Reese
                                                                                      Signature of Clerk or Deputy Clerk
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